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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                        :   CRIMINAL NO.
                                                  :
                      Plaintiff,                  :
                                                  :   MAGISTRATE NO.: 21-mj-685
              v.                                  :
                                                  :   VIOLATIONS:
 JARED SAMUEL KASTNER,                            :
 LUKE FAULKNER,                                   :   18 U.S.C. § 1752(a)(1)
                                                  :   (Entering and Remaining in a Restricted
                      Defendants.                 :   Building or Grounds)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in a Capitol
                                                  :   Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE
       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner and

Luke Faulkner, did unlawfully and knowingly enter and remain in a restricted building and

grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President was temporarily visiting, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner and

Luke Faulkner, did knowingly, and with intent to impede and disrupt the orderly conduct of
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Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                         COUNT THREE
       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner and

Luke Faulkner, willfully and knowingly engaged in disorderly and disruptive conduct in any of

the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session

of Congress and either House of Congress, and the orderly conduct in that building of a hearing

before or any deliberation of, a committee of Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, Jared Samuel Kastner and

Luke Faulkner, willfully and knowingly paraded, demonstrated, and picketed in any United

States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



Date: December 8, 2021
                                           Respectfully submitted,
                                           MATTHEW GRAVES
                                           UNITED STATES ATTORNEY


                                   By:     s/ Monica A. Stump
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